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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
LARRY KLAYMAN,                      )
                                    )
                   Plaintiff,       )
                                    )
    v.                              )    Civil Action No. 1:18-cv-2209
                                    )
ESTHER LIM, et al,                  )
                                    )
                   Defendants.      )
___________________________________ )

   PLAINTIFF’S REQUEST FOR DISCLOSURE OF HOW AND WHY THIS COURT
                     WAS ASSIGNED TO THIS CASE

       Plaintiff, Larry Klayman, with all due resect to this Court and its procedures and policies

hereby makes a formal request for a full disclosure by this Court, the civil clerk and Chief Judge

Beryl Howell, and any other involved entities or persons, setting forth in detail how and why this

case was assigned to the Honorable Randolph Moss (“Judge Moss”).

       As this case was not designated as “related” on the civil cover sheet—since it has

dissimilarities, involves a new and separate frivolous proceeding commenced by the District of

Columbia Bar Disciplinary Counsel, and includes two additional defendants—to a prior case

filed by Plaintiff to this Court styled Klayman v. Fox et al (Civil Action No. 18-cv-1579). If

Defendants wished to assert and move for related status they could have done so once the

complaint was served and counsel’s notices of appearance entered into the record.

       Days after this new case was filed, Plaintiff was informed through the Court’s ECF

system, that it has been assigned to this Court. This suggests that the assignment was not random

but was directed to this Court.

       For these important reasons, Plaintiff respectfully requests that this Court, the civil clerk
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and Chief Judge Beryl Howell, and any other involved entities or persons, set forth in detail facts

as to how and why this case was assigned to the Honorable Randolph Moss, in order that

Plaintiff have the underlying facts and thus be fully advised how to proceed.


Dated: September 27, 2018                            Respectfully submitted,


                                                     /s/ Larry Klayman    ____
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